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                                                                                                                                           _LOQGED
                                                                                                                                           _COPY
                                                                                                                                              l,
FAX or Internet

                                               UNITED ST ATES DISTRICT COURT

                                                                  for the
                                                         District of Arizona
                In the Maner of the Search of                        )
        Priority Mail Parcel 9505506633962185666308
                                                                     )
          addressed to PO BOX 91 Supai AZ 86435
                                                                     )       Case No. 22-MB-04320
                                                                     )
                                                                      )
                                                                      )

                     ELECTRONICALLY ISSUED SEARCH AND SEIZURE WARRANT
To:        Any authorized law enforcement officer.

            An application by a federal law enforcement officer or an attorney for the govemmcnt requests the search
of the following person or property located in the                                              District of Arizona.      ... ··--- ..
/identifi.•the person or describe the property to be searched and give its loratio1rJ: USPS Priority Mail parcel bearing lS PS tracking number
9505506633962185666308, addressed to "PO BOX 91 Supai, AZ 86435," with no return address. It is a Home Depot Heavy Duty
- Small brown cardboard box; measuring approximately 17 X 1 LS X 11.5 inches; weighing approximately 171bs 13.2 oz;
postmarked July 4, 2022; and bearing $20.15 in postage. This parcel is referred to as SUBJECT PARCEL 2


           The person or properly to be searched, described above, is believed to conceal          1ide11t/f.i' the person or describe the property
10   be sei::ed i : See Attachment A.

         1 find that the affidavit(s), or any recorded testimony, have been communicated by reliable electronic means and
establish probable cause to search and seize the person or property .
           YOU ARE COMMANDED to execute this warrant on or before
                                                                                           September 8, 2022
                                                                                                         /110 1 to   exceed I./ dG1·s)
       (2Din the daytime 6:00 a.m. to 10 p.m.          0    at any time in the day or night as J find ;ea's onable caus~ has been
                                                            established.
Unless delayed notice is authorized below, you must give a copy of the search warrant and a receipt for the property taken
to the person from whom, or from whose premises, the property was taken. or leave a search warrant copy and receipt at
the place where the property was taken

The officer executing this warrant. or an officer present during the execution of the warrant. must prepare an
inventory as required by law and promptly return this warrant and inventory to United State~ Magistrate Judge
 An U.S. Ma •istrate Judge in t_h_c: J.?jstrict of Ariz~na .
                             /Nam e)

       DI   find that immediate notification may have an adverse result as specified in 18 U.S.C. ~3 103a (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property. will be
searched or seized /check /he appropriale boxi Ofor _ _ _ days 11101 to exceed 30!.
                                      D until. the !acts justifying, the later specific date of
Date and Time Issued:           ________
                                                  Cami 11 e D • Bib Ies Digitally                  signed by Camille D. Bibles
                                                                                          Date: 2022 .08.25 18:18:16 · 07'00'
                                                                                              Judge 's Signature


City and State:       F~ g_staff. A~i.z~r:ia                              Cam ille D. Bible~. United States M              istrate Judge
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                                A TTACHlVIENT A

                    THINGS TO BE SEARCHED FOR AND
                   SEIZED FROM THE SUBJECT PARCEL

      1.     The subject parcel/package described in the search warrant.

      2.     Any postage and packaging (e.g., paper, labels, plastic bags, or sealers)

and associated receipts.

      3.     Any spirituous, vinous, malted, fermented, or other intoxicating liquors

of any kind (alcohol) as well as any containers or additional packaging for same.

      4.     Any receipts or evidence of purchase for the alcohol.

      5.     Any indicia of ownership and/or who was the sender and/or recipient

of the package, such as anything with the owner's, sender's, and/or recipient's name

and/or address on it.
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                                                           Return
Case No.:                       Date and time warrant executed:          Copy of warrant and inventory left with:
22-MB-04320
                               August 26, 2022, 12:14PM

Inventoiy made in the presence of: Inspector Aaron Behnen and William Melvin

I nventorv of the orooeitv taken and name of anv person( s) seized:


- Priority Mail Parcel 9505506633962185666308

-Bubble wrap

-Various pieces of Tape

-Four (4) 1.75 Liter bottles of Ten High sour mash whiskey




                                                        Certification


         I declare under pe nalty of perjury that this in ventory is correct and was returned along with the original wan-ant
to the designated judge.



Date:
                                                                               l:xecuting Ojflcer ·s Signawre

                                                                        Aaron E . Behnen , United States Postal Inspector
                                                                                  Printed Nu111e a11d Title
